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 1                                                                    The Honorable Thomas S. Zilly
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12                           UNITED STATES DISTRICT COURT
13                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14
15   NINTENDO OF AMERICA INC.,
16                                                        NO. 2:20-cv-00738-TSZ
17                      Plaintiff,
18                                                        PLAINTIFF’S MOTION FOR ENTRY
19           v.                                           OF DEFAULT
20
21   DOES 1-20, d/b/a, ANXCHIP.COM,                       NOTE ON MOTION CALENDAR:
22   AXIOGAME.COM, FLASHCARDA.COM,                        AUGUST 11, 2020
23   MOD3DSCARDS.COM, NX-CARD.COM,
24   SXFLASHCARD.COM, TXSWITCH.COM,
25   and USACHIPSS.COM,
26
27                      Defendants.
28
29
30          Pursuant to Federal Rule of Civil Procedure (“Rule”) 55(a) and Local Civil Rule 55(a),
31
32   Plaintiff Nintendo of America Inc. (“Nintendo”) hereby moves the clerk to enter default against
33
34   all defendants.
35
36          Due to the impossibility of serving Defendants by traditional means, Nintendo filed a
37
38   Motion to Serve Process by Alternative Means. Dkt. 15. This Court granted the motion,
39
40   allowing Nintendo to serve Defendants via email. Dkt. 20. Per the Court’s Order, Nintendo
41
42   served the Summons and Complaint via email on each Defendant on July 16, 2020. Dkt. 21.
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45


     PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT                        G O RD O N   600 University Street
     No. 2:20-cv-00738                                                TILDEN     Suite 2915
                                                                    THOMAS       Seattle, WA 98101
                                                                   CORDELL       206.467.6477
               Case 2:20-cv-00738-TSZ Document 22 Filed 08/11/20 Page 2 of 2



 1           Pursuant to Rule 12(a)(1)(A)(i), Defendants were required to respond to the Complaint
 2
 3   within 21 days, which as applied here required Defendants to answer or otherwise defend by
 4
 5   August 6, 2020. Nintendo has not received an answer or other response to the Complaint from
 6
 7   any Defendant. See Declaration of Alison I. Stein, filed herewith.
 8
 9           Nintendo thus respectfully requests that this Court enter Default against all Defendants.
10
11           DATED this 11th day of August, 2020.
12
13   Respectfully submitted,                            Respectfully submitted,
14
15   GORDON TILDEN THOMAS &                             JENNER & BLOCK LLP
16   CORDELL LLP                                        Attorneys for Plaintiff Nintendo of America Inc.
17   Attorneys for Plaintiff Nintendo of America Inc.
18
19    s/ Michael Rosenberger                              s/ Alison I. Stein
20       Michael Rosenberger, WSBA #17730                    Alison I. Stein (Pro Hac Vice)
21       Michael Brown, WSBA #45618                          Cayman C. Mitchell (Pro Hac Vice)*
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23       Seattle, WA 98101                                   New York, NY 10022
24       Telephone: 206.467.6477                             Telephone: 212.891.1600
25       mrosenberger@gordontilden.com                       astein@jenner.com
26       mbrown@gordontilden.com                             cmitchell@jenner.com
27
28                                                          Christopher S. Lindsay (Pro Hac Vice)
29                                                          633 West 5th Street, Suite 3600
30                                                          Los Angeles, CA 90071
31                                                          Telephone: 213.239.5100
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41                                                      *Admitted only in Massachusetts, not admitted
42                                                      in New York. Practicing under the supervision
43                                                      of the partnership of Jenner & Block, LLP
44
45


     PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT                          G O RD O N   600 University Street
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                                                                      THOMAS       Seattle, WA 98101
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